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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                                   No. 4:12CR00263-01 JLH

RAMI HASAN                                                                   DEFENDANT

                                            ORDER

       Pending before the Court is defendant Rami Hasan’s motion to continue the sentencing

hearing currently set for Tuesday, January 28, 2014. The motion is GRANTED. Document #66.

The sentencing hearing will be reset by separate notice.

       IT IS SO ORDERED this 23rd day of January, 2014.




                                             _________________________________
                                             J. LEON HOLMES
                                             UNITED STATES DISTRICT JUDGE
